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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION



KATHY MACAJOUX,
                             Plaintiff,                   CIVIL ACTION
v.
                                                  FILE NO. 1:22-cv-02588-JEM
HEALTHCARE REVENUE
RECOVERY GROUP, LLC,

                             Defendant.




             NOTICE TO RESPOND TO SUMMARY JUDGMENT MOTION

        A motion for summary judgment has been filed in this court in a case in which you
are a party. You are hereby notified that within 21 days from the date said motion was
served upon you, you must file all materials, including any affidavits, depositions, answers
to interrogatories, admissions on file, and any other relevant materials, which you wish to
be considered in opposition to the motion for summary judgment, Federal Rules of Civil
Procedure, Rule 56(c)(1)(B); Moore v. State of Florida, 703 F.2d 516, 519 (11th Cir. 1983).

       You are also notified that, unless otherwise stated by the trial court, the Court will
take said motion for summary judgment under advisement immediately upon the close of
the aforesaid 21 day period. Id. at 519. See also Donaldson v. Clark, 786 F.2d 1570, 1575
(11th Cir. 1986); Griffith v.Wainright, 722 F.2d 822, 825 (11th Cir. 1985).

        The entry of summary judgment by the trial court is a final judgment on the claim or
claims decided. Finn v. Gunter, 722 F.2d 711, 713 (11th Cir. 1984). Whenever the
nonmoving party bears the burden of proof at trial on a dispositive issue and the party
moving for summary judgment has demonstrated the absence of any genuine issue of fact,
the non-moving party must go beyond the pleadings and must designate, by sworn
affidavit or other materials, "...specific facts showing that there is a genuine issue for
trial." Federal Rules of Civil Procedure, Rule 56(e); Celotex Corp. v. Catrett, 477
U.S.317, 324; 106 S.Ct.2548, 2552-53; 91 L.Ed.2d 265, 272-73.

       Dated at Atlanta, Georgia this 27th day of January, 2023.



                                                  KEVIN P WEIMER
                                                  DISTRICT COURT EXECUTIVE/
                                                  CLERK OF COURT
